      Case 22-50438-jrs             Doc 28      Filed 06/16/22 Entered 06/16/22 15:30:24                                    Desc Main
                                                Document      Page 1 of 2

                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

   IN RE:                                                            )         Case No.:                      SOLI 3 Sa
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   (Ackut          6 eva f       1k9up al-vt-p43                     )         Chapter:

                    Debtor(s)

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   Dated:                      1/021--        Signature:
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                                         UNITED STATES        Page 2 of 2 COURT
                                                          BANKRUPTCY

                                           NORTHERN DISTRICT OF GEORGIA

                                                   ATLANTA DIVISION


IN RE:               .1.          ) 3(                  )       Case No:       '7./eZ..,     gb          — -312s
                 4     ,         ,
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   000(9--                 c -IP Trtw9-vv.2-4b                                 1


               Debtor(s)

                                                       CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the 1(0 day of --)k.A.me__. , 2024 I served a copy of

  Nr\A.Ohis>rN             +17      dc=t1/1/40              IC,A5
which was filed in this bankruptcy matter on the               IS    day of     -A-4\1101 20_12_



Mode of service (check one):                       0        MAILED                         HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):

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                                                 Ptk-lcAvv\-0,
I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Dated:                                                          Signature:

                                                                Printed Name:                     Ls       cx

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                                                                Phone:
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(Generic Certificate of Service — Revised 4/13)
